                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                       Case No. 1:20−cr−183

v.                                        Hon. Robert J. Jonker

ADAM DEAN FOX, et al.


                                     /
         Defendants.

                          NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been scheduled as
set forth below:


Motion(s):            Motions to Compel (ECF No. 225, 258)
Date/Time:            August 27, 2021 10:00 AM
Magistrate Judge:     Sally J. Berens
Place/Location:       401 Federal Building, Grand Rapids, MI




                                     SALLY J. BERENS
                                     U.S. Magistrate Judge

Dated: August 20, 2021         By:    /s/ Julie Lenon
                                     Judicial Assistant
